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                                                                          6                            IN THE UNITED STATES DISTRICT COURT
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                                                                                                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
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                                                                         10   ALICIA HERNANDEZ, EMMA WHITE,
                                                                         11   KEITH LINDNER, TROY FRYE, COSZETTA                         No. C 18-07354 WHA
United States District Court




                                                                              TEAGUE, IESHA BROWN, RUSSELL and
                                                                              BRENDA SIMONEAUX, JOHN and YVONNE
                               For the Northern District of California




                                                                         12   DEMARTINO, ROSE WILSON, TIFFANIE                           ORDER RE MOTION
                                                                         13   HOOD, GEORGE and CYNDI FLOYD,                              TO DISMISS
                                                                              DEBORA GRANJA, and DIANA TREVINO,
                                                                         14   individually and on behalf of all others similarly
                                                                              situated,
                                                                         15                  Plaintiffs,
                                                                         16     v.
                                                                         17   WELLS FARGO & COMPANY, and WELLS
                                                                         18   FARGO BANK, N.A.,

                                                                         19                  Defendants.

                                                                         20                                                        /
                                                                         21
                                                                         22                                          INTRODUCTION

                                                                         23           In this negligence and wrongful-foreclosure action, defendant Wells Fargo Bank, N.A.

                                                                         24   moves to dismiss. For the following reasons, the motion is GRANTED IN PART AND DENIED IN
                                                                              PART.
                                                                         25
                                                                         26                                            STATEMENT

                                                                         27           Plaintiffs all had their mortgage loans serviced by defendant Wells Fargo Bank, N.A.

                                                                         28   when they faced various financial hardships and defaulted on their loans. Although they sought
                                                                              loan modifications from Wells Fargo, those applications were denied (Amd. Compl. ¶¶ 30–33).
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                                                                          1          At the time plaintiffs requested loan modifications, Wells Fargo participated in the Home
                                                                          2   Affordable Modification Program (HAMP), through which mortgage lenders received stimulus
                                                                          3   funds in exchange for issuing loan modifications to qualified borrowers. Although plaintiffs met
                                                                          4   the program’s threshold requirements for such a modification, Wells Fargo failed to offer them
                                                                          5   one. Instead, the bank foreclosed on eleven of the named plaintiffs and more than five hundred
                                                                          6   other customers who could not make their monthly payments without a modification. Two
                                                                          7   plaintiffs, Russell and Brenda Simoneaux, did not face foreclosure and ultimately paid off their
                                                                          8   mortgage (id. ¶¶ 30–34, 109–13).
                                                                          9          A 2010 investigation by the Office of Comptroller of the Currency (OCC) found
                                                                         10   numerous deficiencies in Wells Fargo’s mortgage modification and foreclosure practices,
                                                                         11   including that the bank failed to devote adequate oversight to its foreclosure processes, failed to
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                                                                         12   ensure compliance with applicable laws, and failed to adequately audit its foreclosure
                                                                         13   procedures. Wells Fargo agreed to correct these deficiencies in two 2011 consent orders,
                                                                         14   agreeing to maintain adequate governance and controls to ensure compliance with HAMP, to
                                                                         15   engage in ongoing testing for compliance with HAMP, and to ensure that the bank’s mortgage
                                                                         16   modification and foreclosure practices were regularly reviewed and any deficiencies promptly
                                                                         17   detected and remedied. Despite these consent orders, between 2010 and 2018 Wells Fargo failed
                                                                         18   to detect multiple systematic errors in the automated decision-making software it used to
                                                                         19   determine customers’ eligibility for a mortgage modification under HAMP and other government
                                                                         20   programs (id. ¶¶ 35–47).
                                                                         21          As is particularly relevant here, in October 2015, Wells Fargo discovered a calculation
                                                                         22   “error” in a software tool it used to determine whether to issue a mortgage modification. This
                                                                         23   calculation error, which underlies the claims in this case, caused certain fees to be misstated and
                                                                         24   resulted in incorrect modification denials. In May 2016, after Wells Fargo discovered the error
                                                                         25   but before it had been disclosed to regulators or borrowers, the OCC fined Wells Fargo for
                                                                         26   failing to detect a separate software error that led to the denial of mortgage modifications to 184
                                                                         27   Wells Fargo customers. Despite this ongoing oversight by the OCC, Wells Fargo did not
                                                                         28   disclose the 2015 error until 2018. That same year, Wells Fargo disclosed even more software


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                                                                          1    errors. In total, 870 customers were incorrectly denied a loan modification, 545 of which lost
                                                                          2    their homes in foreclosure. According to plaintiffs, these repeated failures to implement
                                                                          3    adequate testing procedures — as well as other high-profile scandals that have roiled the bank in
                                                                          4    recent years — are emblematic of Wells Fargo’s chronic and intentional lack of oversight (id. ¶¶
                                                                          5    48–69).
                                                                          6               In December 2018, plaintiff Alicia Hernandez filed this putative nationwide class action,
                                                                          7    asserting claims for negligence, conversion, violations of California’s Unfair Competition Law,
                                                                          8    and violations of the New Jersey Consumer Fraud Act. In response to a motion to dismiss,
                                                                          9    Hernandez filed an amended complaint in February 2019. The operative complaint added 15
                                                                         10    new named plaintiffs, added Wells Fargo & Company as a new defendant, and added nine
                                                                         11    additional claims for relief. Wells Fargo now moves to dismiss the complaint for failure to state
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                                                                               a claim (Dkt. Nos. 1, 44, 59). This order follows full briefing and oral argument.1
                               For the Northern District of California




                                                                         12
                                                                         13                                                     ANALYSIS
                                                                         14               A complaint must plead “enough facts to state a claim to relief that is plausible on its
                                                                         15    face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A claim has facial plausibility
                                                                         16    when its factual allegations, rather than mere conclusory statements, create the reasonable
                                                                         17    inference that the defendant is liable for the misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662,
                                                                         18    678 (2009). A court ruling on a motion to dismiss must accept factual allegations in the
                                                                         19    complaint as true and construe the pleadings in the light most favorable to the nonmoving party.
                                                                         20    Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1030–31 (9th Cir. 2008).
                                                                         21    Conclusory allegations or “formulaic recitation of the elements” of a claim, however, are not
                                                                         22    entitled to the presumption of truth. Iqbal, 556 U.S. at 681.
                                                                         23               1.     STANDING TO BRING STATE LAW CLAIMS BASED
                                                                                                 ON APPLICATIONS FOR HAMP MODIFICATION.
                                                                         24
                                                                                          In response to the financial crisis of 2008, Congress passed the Emergency Economic
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                                                                               Stabilization Act. This law included the Troubled Asset Relief Program, which required the
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                                                                                      1
                                                                                        The instant motion is brought only by defendant Wells Fargo Bank, N.A. Defendant Wells Fargo &
                                                                         28   Company has separately moved to dismiss the complaint for lack of standing and failure to state a claim (Dkt.
                                                                              No. 73). A hearing on Wells Fargo & Company’s motion to dismiss is set for June 2019.

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                                                                          1   Secretary of the Treasury to, among other things, implement a plan to minimize home
                                                                          2   foreclosures. Corvello v. Wells Fargo Bank, NA, 728 F.3d 878, 880 (9th Cir. 2013), as amended
                                                                          3   on reh’g in part (Sept. 23, 2013) (citation omitted). Pursuant to this instruction, the Treasury
                                                                          4   Department in 2009 launched the HAMP program to incentivize banks to refinance mortgages of
                                                                          5   distressed homeowners so they could stay in their homes. Under the program, home-loan
                                                                          6   servicers, including Wells Fargo, signed servicer participation agreements that entitled them to
                                                                          7   $1,000 for each permanent modification they made but required them to follow Treasury
                                                                          8   guidelines and procedures. Ibid.
                                                                          9          Treasury directed loan servicers to determine each borrower’s eligibility for a loan
                                                                         10   modification by following a three-step process. Wigod v. Wells Fargo Bank, N.A., 673 F.3d 547,
                                                                         11   556–57 (7th Cir. 2012). First, the borrower had to meet certain threshold requirements,
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                                                                         12   including that the loan originated on or before January 1, 2009, it was secured by the borrower’s
                                                                         13   primary residence, and the mortgage payments were more than 31 percent of the borrower’s
                                                                         14   monthly income. Second, the servicer calculated a modification using a “waterfall” method,
                                                                         15   applying enumerated changes in a specified order until the borrower’s monthly mortgage
                                                                         16   payment ratio dropped “as close as possible to 31 percent.” Third, the servicer applied a net
                                                                         17   present value test to assess whether the modified mortgage’s value to the servicer would be
                                                                         18   greater than the return on the mortgage if unmodified. If the net present value result was positive
                                                                         19   — i.e., the value of the modified mortgage would be greater than the servicer’s expected return
                                                                         20   after foreclosure — the Treasury directives said that “the servicer MUST offer the modification.”
                                                                         21   Ibid. (citing Supplemental Directive 09–01).
                                                                         22          HAMP did not create a federal right of action for borrowers against lenders. Wells Fargo
                                                                         23   argues that plaintiffs’ state-law claims, which are based in part on allegations that Wells Fargo
                                                                         24   failed to offer plaintiffs a loan modification as required by HAMP, fail as a matter of law
                                                                         25   because plaintiffs lack standing to enforce HAMP’s requirements. For the reasons now
                                                                         26   explained, this order disagrees and concludes that HAMP’s lack of a private federal right of
                                                                         27   action does not automatically preclude state-law claims that refer to or incorporate Wells Fargo’s
                                                                         28   failures in meeting HAMP’s requirements.


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                                                                          1          In the leading federal appellate decision on this issue, the United States Court of Appeals
                                                                          2   for the Seventh Circuit rejected Wells Fargo’s contention that the absence of a private federal
                                                                          3   remedy under HAMP displaced the plaintiffs’ state-law claims. Wigod, 673 F.3d at 581. There,
                                                                          4   the plaintiff alleged that Wells Fargo had issued her a “trial” loan modification under which it
                                                                          5   agreed to permanently modify the loan if she qualified under HAMP guidelines. The plaintiff
                                                                          6   alleged that although she did qualify, Wells Fargo refused to grant her a permanent modification
                                                                          7   after it miscalculated her property taxes. The district court dismissed the complaint in its
                                                                          8   entirety, reasoning that the plaintiff’s state-law claims were premised on Wells Fargo’s
                                                                          9   obligations under HAMP, which did not confer a private right of action. Id. at 555–59. In
                                                                         10   reversing the dismissal, Wigod concluded that “[t]he absence of a private right of action from a
                                                                         11   federal statute provides no reason to dismiss a claim under a state law just because it refers to or
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                                                                         12   incorporates some element of the federal law.” Id. at 581.
                                                                         13          Since the appellate court’s decision in Wigod, our court of appeals and California
                                                                         14   appellate courts have similarly allowed state-law claims based on HAMP-required loan
                                                                         15   modifications to proceed past the pleading stage. See, e.g. Corvello, 728 F.3d at 880; West v.
                                                                         16   JPMorgan Chase Bank, N.A., 214 Cal. App. 4th 780, 788 (2013); Bushell v. JPMorgan Chase
                                                                         17   Bank, N.A., 220 Cal. App. 4th 915, 928 n.9 (2013). This order also finds the reasoning of Wigod
                                                                         18   convincing and similarly rejects Wells Fargo’s argument that the absence of a private remedy
                                                                         19   under HAMP requires dismissal of plaintiffs’ state-law claims.
                                                                         20          The non-binding decisions cited by Wells Fargo do not compel a contrary result. For
                                                                         21   example, in Slimm v. Bank of America Corporation, No. 12-cv-05846, 2013 WL 1867035
                                                                         22   (D.N.J. May 2, 2013) (Judge Noel Hillman), the district court dismissed the plaintiff’s state-law
                                                                         23   claims based on its determination that the claims were insufficiently independent of HAMP. In
                                                                         24   support of this holding, Slimm cited Sinclair v. Citi Mortgage Inc., No. 12-cv-04261, 2013 WL
                                                                         25   1010617 (3d Cir. Mar.15, 2013), an unpublished decision by the United States Court of Appeals
                                                                         26   for the Third Circuit. Sinclair, however, merely held that HAMP lacks a private right of action.
                                                                         27   It did not hold that HAMP precludes state-law claims such as those asserted by plaintiffs here.
                                                                         28   The holding in Jaffri v. JPMorgan Chase Bank, N.A., 26 N.E.3d 635, 640 (Ind. Ct. App. 2015),


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                                                                          1    was similarly limited. In sum, this order rejects Wells Fargo’s contention that plaintiffs’ claims
                                                                          2    are an impermissible attempt to enforce HAMP guidelines under state law and proceeds to
                                                                          3    address plaintiffs’ claims on the merits.2
                                                                          4                2.     STANDING TO ENFORCE OCC CONSENT ORDER.
                                                                          5                Wells Fargo also argues that the complaint must be dismissed because plaintiffs’ claims
                                                                          6    are premised on Wells Fargo’s failure to comply with its obligations under the 2011 consent
                                                                          7    order it entered into with the OCC — a consent order to which plaintiffs are not a party.
                                                                          8    Plaintiffs agree that Wells Fargo’s alleged violation of the consent order “is a matter for the
                                                                          9    federal government to enforce” (Opp. at 7). Wells Fargo fails to explain, however, why
                                                                         10    plaintiffs’ inability to enforce the OCC consent order necessarily dooms all of plaintiffs’ claims,
                                                                         11    each of which relies on Wells Fargo’s alleged violations of the consent order to a varying extent.
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                                                                         12    Wells Fargo does not dispute, for example, that the existence of the consent order is relevant to
                                                                         13    show Wells Fargo’s knowledge of deficiencies in oversight or controls concerning its loan
                                                                         14    modification and foreclosure processes. This order therefore analyzes on a claim-by-claim basis
                                                                         15    the extent to which the claim is an impermissible attempt to enforce the OCC consent decree.
                                                                         16                3.     CALIFORNIA’S HOMEOWNERS BILL OF RIGHTS.
                                                                         17                Plaintiffs Debora Granja and Keith Lindner assert a claim under California’s
                                                                         18    Homeowners Bill of Rights, Section 2924.17 of the California Civil Code, which provides that
                                                                         19    before recording or filing a notice of default, a notice of sale, and other specified documents, “a
                                                                         20    mortgage servicer shall ensure that it has reviewed competent and reliable evidence to
                                                                         21    substantiate the borrower’s default and the right to foreclose, including the borrower’s loan
                                                                         22    status and loan information.” Plaintiffs allege that Wells Fargo violated Section 2924.17
                                                                         23    because its modification software was not reliable and therefore Wells Fargo’s right to foreclose
                                                                         24    was not supported by competent and reliable information (Amd. Compl. ¶¶ 215–20).
                                                                         25                Wells Fargo argues that Section 2924.17 only protects against “robo-signing,” which
                                                                         26    “occurs when persons sign a document without personal knowledge of the content attested to
                                                                         27
                                                                                       2
                                                                                          In a footnote, Wells Fargo includes a string cite to a dozen non-binding decisions which either pre-
                                                                         28   date Wigod, fail to address Wigod’s analysis, or merely stand only for the general proposition that HAMP does
                                                                              not create a private federal remedy.

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                                                                          1    therein and/or sign the documents without the requisite authority to do so.” Mills v. JPMorgan
                                                                          2    Chase Bank, N.A., No. 16-cv-00665, 2016 WL 6896571, at *3 (E.D. Cal. Nov. 23, 2016) (Judge
                                                                          3    Dale Drozd) (citations and internal quotation marks omitted). Because the complaint does not
                                                                          4    allege “robo-signing,” Wells Fargo argues, plaintiffs’ claim fails as a matter of law. This order
                                                                          5    declines to read Section 2924.17's protections in such a limited way.
                                                                          6            The purpose of the Homeowners Bill of Rights is to ensure that “borrowers are
                                                                          7    considered for, and have a meaningful opportunity to obtain, available loss mitigation options, if
                                                                          8    any, offered by or through the borrower’s mortgage servicer, such as loan modifications or other
                                                                          9    alternatives to foreclosure.” Cal. Civ. Code § 2923.4. Other courts in this district have upheld
                                                                         10    Section 2924.17 claims outside of the robo-signing context. See, e.g., Penermon v. Wells Fargo
                                                                         11    Bank, N.A., 47 F. Supp. 3d 982, 997–98 (N.D. Cal. 2014) (Judge Kandis Westmore); Green v.
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                                                                         12    Cent. Mortg. Co., 148 F. Supp. 3d 852, 875–76 (N.D. Cal. 2015) (Judge Laurel Beeler). Indeed,
                                                                         13    Wells Fargo’s own authorities explain that “Section 2924.17 prohibits ‘robo-signing,’ or
                                                                         14    executing foreclosure documents without ‘substantiat[ing] the borrower’s default and the right to
                                                                         15    foreclose.’” Monet v. JPMorgan Chase Bank, N.A., No. 17-cv-00623-LHK, 2017 WL 3895790,
                                                                         16    at *5 (N.D. Cal. Sept. 5, 2017) (Judge Lucy Koh) (emphasis added) (citation omitted). That
                                                                         17    Section 2924.17's prohibitions arose “from national media attention to . . . ‘robosigning,’” Sen.
                                                                         18    Rules Comm., Off. of Sen. Floor Analyses, Conf. Rep. No. 1 on S.B. 900, 2011–2012 Reg. Sess.,
                                                                         19    at p. 25–29 (as amended June 27, 2012), does not mean that the statute was designed to solve
                                                                         20    this problem alone. Wells Fargo’s motion to dismiss plaintiffs’ Section 2924.17 claim is
                                                                         21    accordingly DENIED.3
                                                                         22            4.       SECTION 17200.
                                                                         23            To state a claim for unfair competition under Section 17200 of California Business and
                                                                         24    Professions Code, a plaintiff must allege that a defendant engaged in an “unlawful, unfair or
                                                                         25    fraudulent business act or practice.” The statute is violated where a defendant’s conduct violates
                                                                         26
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                                                                                         As plaintiffs do not dispute, however, Section 2924.17 came into effect on January 1, 2013, and is
                                                                         27   not retroactively applied. See Dahnken v. Wells Fargo Bank, N.A., No. No. 13-cv-2838 PJH, 2014 WL 523382,
                                                                              at *2 (N.D. Cal. Feb. 6, 2014) (Judge Phyllis Hamilton), aff’d sub nom. Dahnken v. Wells Fargo Bank, NA, 705
                                                                         28   F. App’x 508 (9th Cir. 2017). Accordingly, to the extent the complaint alleges that conduct took place before
                                                                              2013, such conduct is not actionable under Section 2924.17.

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                                                                          1   any of the foregoing prongs. Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1168 (9th Cir.
                                                                          2   2012). Here, plaintiffs assert a Section 17200 claim based on the “unlawful” and “unfair”
                                                                          3   prongs.
                                                                          4             As to the unfairness prong, our court of appeals has applied unfairness under two
                                                                          5   different tests: Cel-Tech and South Bay. See, e.g., Hodsdon v. Mars, Inc., 891 F.3d 857, 865–67
                                                                          6   (9th Cir. 2018). Cel-Tech held that “unfair” conduct must be “tethered to some legislatively
                                                                          7   declared policy” or have some effect on competition. Cel-Tech Commc’ns, Inc. v. L.A. Cellular
                                                                          8   Tel. Co., 20 Cal. 4th 163, 186–87 (1999). Under South Bay, a challenged business practice
                                                                          9   qualifies as unfair when the practice is “immoral, unethical, oppressive, unscrupulous or
                                                                         10   substantially injurious to consumers.” S. Bay Chevrolet v. Gen. Motors Acceptance
                                                                         11   Corporation, 72 Cal. App. 4th 861, 886–87 (1999) (citation omitted).
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                                                                         12             The conduct alleged in the complaint satisfies the unfairness prong under either test. In
                                                                         13   allegedly failing to properly test and monitor its mortgage modification software, Wells Fargo
                                                                         14   undermined the legislatively-declared policy of California’s Homeowners Bill of Rights “to
                                                                         15   ensure that, as part of the nonjudicial foreclosure process, borrowers are considered for, and have
                                                                         16   a meaningful opportunity to obtain, available loss mitigation options, if any, offered by or
                                                                         17   through the borrower’s mortgage servicer, such as loan modifications or other alternatives to
                                                                         18   foreclosure.” Cal. Civ. Code § 2923.4. Moreover, in prioritizing profits over adequate
                                                                         19   oversight, despite being on notice of deficiencies in its foreclosure practices, and causing
                                                                         20   hundreds of unnecessary foreclosures, Wells Fargo plausibly engaged in unscrupulous behavior.
                                                                         21             As to the unlawful prong, plaintiffs allege that Wells Fargo engaged in unlawful practices
                                                                         22   by denying mortgage modifications “in violation of HAMP and other governmental
                                                                         23   requirements” (Amd. Compl. ¶ 224). Wells Fargo argues that HAMP cannot serve as the
                                                                         24   predicate for a Section 17200 claim because HAMP does not create a private right of action.
                                                                         25   Contrary to Wells Fargo, California law allows parties to challenge unlawful business practices
                                                                         26   under Section 17200 even where the underlying conduct violates a law that does not provide a
                                                                         27   private right of action. See Zhang v. Superior Court, 57 Cal. 4th 364, 376–77 (2013); see also
                                                                         28   Fowler v. Wells Fargo Bank, N.A., No. 17-cv-02092-HSG, 2017 WL 3977385, at *2 (N.D. Cal.


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                                                                          1   Sept. 11, 2017) (Judge Haywood Gilliam, Jr.). This order therefore disagrees that plaintiffs
                                                                          2   cannot base their Section 17200 claim on alleged violations of HAMP.
                                                                          3          Wells Fargo’s authorities to the contrary are unconvincing. In both Aleem v. Bank of
                                                                          4   America, No. 09-cv-01812, 2010 WL 532330, at *3 (C.D. Cal. Feb. 9, 2010) (Judge Virginia
                                                                          5   Phillips), and Bunce v. Ocwen Loan Servicing, LLC, No. 13-cv-00976, 2013 WL 3773950, at *7
                                                                          6   (E.D. Cal. July 17, 2013) (Judge William Shubb), the district court dismissed a Section 17200
                                                                          7   claim premised on a violation of HAMP because HAMP does not provide a private right of
                                                                          8   action. Both Bunce and Aleem, however, ultimately relied on Summit Technology, Inc. v.
                                                                          9   High-Line Medical Instruments Co., Inc., 922 F. Supp. 299, 316 (C.D. Cal. 1996) (Judge Audrey
                                                                         10   Collins), for the proposition that Section 17200 cannot create a private right of action where
                                                                         11   none exists under the federal statute. Summit Technology, however, predates the California
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                                                                         12   Supreme Court’s decision in Zhang and, as discussed above, misstates current California law.
                                                                         13          Also unconvincing is Wells Fargo’s argument that HAMP does not “have the force of
                                                                         14   law” and therefore cannot serve as a predicate for an “unlawful” Section 17200 claim. Wells
                                                                         15   Fargo relies solely on Janda v. T-Mobile, USA, Inc., No. 05-cv-03729 JSW, 2009 WL 667206, at
                                                                         16   *8 n.9 (N.D. Cal. Mar. 13, 2009) (Judge Jeffrey White), where the district court dismissed a
                                                                         17   Section 17200 claim premised on violations of a FCC policy statement, which policy statement
                                                                         18   the FCC merely “encourage[d]” adherence to. Here, by contrast, HAMP does more than
                                                                         19   “encourage” adherence to its directives. And, although our court of appeals affirmed the district
                                                                         20   court’s dismissal of the plaintiffs’ Section 17200 claim, it did not adopt the district court’s
                                                                         21   reasoning that the FCC policy statement lacked “the force of law” and therefore could not be
                                                                         22   relied upon to establish the claim. Rather, the appellate court concluded that the defendant’s
                                                                         23   alleged conduct did not involve the sort of business practices discouraged by the policy
                                                                         24   statement. Janda v. T-Mobile USA, Inc., 378 Fed. Appx. 705, 708 (9th Cir. 2010). The motion
                                                                         25   to dismiss plaintiffs’ Section 17200 claim is accordingly DENIED.
                                                                         26          5.      STATE CONSUMER PROTECTION CLAIMS.
                                                                         27          In the event that plaintiffs’ Section 17200 claim is not applied on a nationwide basis,
                                                                         28   plaintiffs bring a claim for relief under the consumer protection statutes of five other states: the


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                                                                          1   Illinois Consumer Fraud Act, the Maryland Consumer Protection Act and Consumer Debt
                                                                          2   Collection Act, the New Jersey Consumer Fraud Act, Section 349(a) of New York’s General
                                                                          3   Business Law, and the Pennsylvania Unfair Trade Practices and Consumer Protection Law. This
                                                                          4   claim is based on the same allegations regarding wrongful HAMP denials and purported audit
                                                                          5   and testing failures (Amd. Compl. ¶¶ 231–62), and Wells Fargo once again moves to dismiss
                                                                          6   these claims on the theory that plaintiffs cannot assert state-law claims premised on violations of
                                                                          7   HAMP. For the reasons already explained, this order disagrees that HAMP precludes state-law
                                                                          8   claims. Plaintiffs also allege more than a stand-alone HAMP violation. Rather, the complaint
                                                                          9   points to unfair and misleading business practices in connection with Wells Fargo’s reckless
                                                                         10   failure to verify and audit its automated software and its misrepresentations regarding
                                                                         11   mortgagors’ eligibility for loan modifications.
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                                                                         12           Wells Fargo also argues, and plaintiffs agree, that for purposes of Maryland law, a lender
                                                                         13   who complies with the terms of the parties’ mortgage contract does not violate the Maryland
                                                                         14   Consumer Debt Collection Act or Maryland Consumer Protection Act even if the lender failed to
                                                                         15   abide by HAMP guidelines. As discussed below, plaintiffs have failed to allege that Wells Fargo
                                                                         16   breached their mortgage contracts. As to plaintiffs’ Maryland claims only, the motion to dismiss
                                                                         17   plaintiffs’ state consumer protection claims is GRANTED. The motion to dismiss these claims is
                                                                         18   otherwise DENIED.
                                                                         19           6.     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS.
                                                                         20           The elements of the tort of intentional infliction of emotional distress are: (1) outrageous
                                                                         21   conduct, (2) an intent to cause or a reckless disregard of the possibility of causing emotional
                                                                         22   distress, (3) severe or extreme emotional distress, and (4) actual and proximate cause of the
                                                                         23   emotional distress by the outrageous conduct. Symonds v. Mercury Sav. & Loan Ass’n, 225 Cal.
                                                                         24   App. 3d 1458, 1468 (1990). Wells Fargo cites a multitude of decisions in which courts have
                                                                         25   concluded that the denial of a loan modification resulting in foreclosure does not give rise to a
                                                                         26   claim for intentional infliction of emotional distress. Here, however, plaintiffs allege much more
                                                                         27   than that.
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                                                                          1           The complaint alleges that Wells Fargo repeatedly failed to test the automated
                                                                          2   decision-making tool it used to determine borrowers’ eligibility for mortgage modifications,
                                                                          3   even in the face of a consent decree which put Wells Fargo on notice that it needed to implement
                                                                          4   such testing. Moreover, as alleged in the complaint, Wells Fargo went so far as to conceal its
                                                                          5   discovery of systemic errors from regulators and borrowers for several years. Plaintiffs allege
                                                                          6   that Wells Fargo knowingly and repeatedly refused to address these problems, deliberately
                                                                          7   deciding to put profits and growth over compliance. As a result, plaintiffs (and hundreds of
                                                                          8   other borrowers) lost their homes and suffered severe emotional distress. Wells Fargo was
                                                                          9   happy to receive HAMP money but when it came time to actually deliver on loan modifications,
                                                                         10   it systematically turned homeowners out into the streets through an alleged pattern of reckless
                                                                         11   and heartless “errors” and “cover-ups.” This order cannot say as a matter of law that Wells
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                                                                         12   Fargo’s conduct, as currently pled, could not be deemed outrageous. That issue will need to be
                                                                         13   considered after the facts are developed in discovery. In the meantime, the borrower-plaintiffs
                                                                         14   have stated a claim for intentional infliction of emotional distress and the motion to dismiss their
                                                                         15   claim is DENIED.
                                                                         16           By comparison, plaintiff Iesha Brown’s intentional infliction of emotion distress claim
                                                                         17   goes too far. According to the complaint, Brown lived with her mother, plaintiff Coszetta
                                                                         18   Teague, who purchased a home in Illinois for herself and her family through a mortgage loan
                                                                         19   from Wells Fargo. After Wells Fargo denied Teague’s request for a loan modification, the entire
                                                                         20   family, including Brown, was forced to live in their car for roughly three years. This experience
                                                                         21   emotionally devastated Brown, who became depressed and had suicidal ideations (Amd. Compl.
                                                                         22   ¶¶ 101–08). While the extent to which the borrower-plaintiffs may bring their claims on behalf
                                                                         23   of putative non-borrower class members will be resolved at class certification, this order
                                                                         24   concludes that plaintiff Brown has failed to state a claim for intentional infliction of emotional
                                                                         25   distress.
                                                                         26           The parties agree that Brown’s claim for intentional infliction of emotional distress is
                                                                         27   governed by Illinois law. Unlike California law, which requires that a defendant have known
                                                                         28   that “particular plaintiffs” would be affected by its conduct, Potter v. Firestone Tire & Rubber


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                                                                          1   Co., 6 Cal. 4th 965, 1002–03 (1993), to state a claim in Illinois, a plaintiff need only allege that
                                                                          2   the actor knew “that there is at least a high probability that his conduct will cause severe
                                                                          3   emotional distress,” Schweihs v. Chase Home Fin., LLC, 77 N.E. 3d 50, 63 (2016). Here, not
                                                                          4   only does the complaint fail to allege facts plausibly suggesting that Wells Fargo knew of
                                                                          5   Brown’s presence in the home, the complaint fails to plausibly allege that Wells Fargo had
                                                                          6   reason to believe that anyone other than the borrower would be impacted by foreclosure. Even
                                                                          7   taking the complaint’s allegations and reasonable inferences therefrom as true, Brown has not
                                                                          8   alleged that Wells Fargo acted recklessly as to anyone other than the homeowners with whom
                                                                          9   Wells Fargo dealt. Wells Fargo’s motion to dismiss Brown’s claim for intentional infliction of
                                                                         10   emotional distress is GRANTED.
                                                                         11           7.      NEGLIGENCE.
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                                                                         12           To state a claim for negligence, a plaintiff must allege: (1) the defendant’s legal duty of
                                                                         13   care to the plaintiff; (2) breach of that duty; (3) causation; and (4) resulting injury to the plaintiff.
                                                                         14   Merrill v. Navegar, Inc., 26 Cal. 4th 465, 500 (2001). Here, California plaintiffs Debora Granja
                                                                         15   and Keith Lindner allege that Wells Fargo failed to use reasonable care in determining whether
                                                                         16   they were eligible for a mortgage modification (Amd. Compl. ¶¶ 198–203).
                                                                         17           “[A]s a general rule, a financial institution owes no duty of care to a borrower when the
                                                                         18   institution’s involvement in the loan transaction does not exceed the scope of its conventional
                                                                         19   role as a mere lender of money.” Nymark v. Heart Fed. Savings & Loan Assn., 231 Cal. App. 3d
                                                                         20   1089, 1096 (1991) (citation omitted). To determine whether a duty of care exists in a particular
                                                                         21   case, California courts balance the factors set forth in Biakanja v. Irving, 49 Cal. 2d 647, 650
                                                                         22   (1958): (1) the extent to which the transaction was intended to affect the plaintiff, (2) the
                                                                         23   foreseeability of harm to the plaintiff, (3) the degree of certainty that the plaintiff suffered injury,
                                                                         24   (4) the closeness of the connection between the defendant’s conduct and the injury suffered, (5)
                                                                         25   the moral blame attached to the defendant’s conduct, and (6) the policy of preventing future
                                                                         26   harm.
                                                                         27           The undersigned judge has held that a financial institution actively participates in the
                                                                         28   financed enterprise beyond the domain of the usual money lender when it offers borrowers a loan


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                                                                          1   modification and a trial period plan. See Ansanelli v. JP Morgan Chase Bank, N.A., No. 10-cv-
                                                                          2   03892, 2011 WL 1134451, *7 (N.D. Cal. Mar. 28, 2011); Avila v. Wells Fargo Bank, No. 12-cv-
                                                                          3   01237, 2012 WL 2953117, at *12 (N.D. Cal. July 19, 2012). By contrast, where, as here, a
                                                                          4   defendant has not yet offered the plaintiff a loan modification, then the undersigned has held that
                                                                          5   the defendant has not actively participated in the financed enterprise beyond the role of a usual
                                                                          6   money lender and merely engaging in the loan modification process is insufficient to give rise to
                                                                          7   a duty of care. Sun v. Wells Fargo Bank, Nat’l Ass’n, No. 14-cv-00063, 2014 WL 1245299, at
                                                                          8   *4 (N.D. Cal. Mar. 25, 2014).
                                                                          9          Courts are divided on whether accepting documents for a loan modification is within the
                                                                         10   scope of a lender’s conventional role as a mere lender of money or whether it can instead give
                                                                         11   rise to a duty of care with respect to the processing of a loan modification application. While
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                                                                         12   some courts have followed Lueras v. BAC Home Loans Servicing, LP, 221 Cal. App. 4th 49
                                                                         13   (2013), in deciding that under the Biakanja factors the loan servicer does not owe a borrower a
                                                                         14   common law duty of care in processing a loan modification application, others have followed
                                                                         15   Alvarez v. BAC Home Loans Servicing, L.P., 228 Cal. App. 4th 941 (2014), to conclude that a
                                                                         16   common law duty of care in the loan modification process does arise under California law.
                                                                         17          Even after Alvarez, in at least three unpublished decisions our court of appeals has
                                                                         18   followed Lueras and held that a financial institution does not owe a duty of care to borrowers in
                                                                         19   the loan modification process. See Anderson v. Deutsche Bank Nat’l Trust Co. Americas, 649
                                                                         20   Fed. Appx. 550, 552 (9th Cir. 2016); Badame v. J.P. Morgan Chase Bank, N.A., 641 Fed. Appx.
                                                                         21   707, 709–10 (9th Cir. 2016); Deschaine v. IndyMac Morg. Servs., 617 Fed. Appx. 690, 692 (9th
                                                                         22   Cir. 2015). Because the undersigned has previously held that merely engaging in the loan
                                                                         23   modification process is insufficient to give rise to a duty of care, and because our court of
                                                                         24   appeals has consistently followed Lueras (albeit in non-binding decisions), this order concludes
                                                                         25   that plaintiffs have not alleged a duty of care in connection with their requests for loan
                                                                         26   modifications. Wells Fargo’s motion to dismiss plaintiffs’ negligence claim is GRANTED. This
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                                                                          1    order does not reach Wells Fargo’s argument that the economic loss rule also bars plaintiffs’
                                                                          2    negligence claims.4
                                                                          3                8.     BREACH OF CONTRACT.
                                                                          4                To allege a claim for breach of contract, a plaintiff must allege: “(1) the contract, (2)
                                                                          5    plaintiff’s performance or excuse for nonperformance, (3) defendant’s breach, and (4) the
                                                                          6    resulting damages to plaintiff.” Reichert v. General Ins. Co. of America, 68 Cal. 2d 822, 830
                                                                          7    (1968). Courts attempt to “ascertain [the parties’] intention solely from the written contract, if
                                                                          8    possible,” Starlight Ridge S. Homeowners Ass’n v. Hunter-Bloor, 177 Cal. App. 4th 440, 447
                                                                          9    (2009), and begin by assuming contract terms have their “plain, ordinary, popular or legal
                                                                         10    meaning,” Hayter Trucking, Inc. v. Shell W. E&P, Inc., 18 Cal. App. 4th 1, 15 (1993). If the
                                                                         11    “ordinary and popular sense” leaves doubt regarding a word’s meaning, courts consider the
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                                                                         12    circumstances under which the contract was made, the matter to which it relates, and any special
                                                                         13    meaning given to words by usage. Starlight Ridge, 177 Cal. App. 4th at 447–48.
                                                                         14                For ten of the twelve named plaintiffs, the alleged contract is the secured-loan instrument
                                                                         15    they entered into when they financed their homes. The relevant contractual language, which
                                                                         16    requires Wells Fargo to give notice to borrowers before initiating foreclosure, provides:5
                                                                         17                       Acceleration; Remedies. Lender shall give notice to Borrower prior
                                                                                                  to acceleration following Borrower’s breach . . . . The notice shall
                                                                         18                       specify: (a) the default; (b) the action required to cure the default;
                                                                                                  (c) a date not less than 30 days from the date the notice is given to
                                                                         19                       Borrower, by which default must be cured; (d) that failure to cure
                                                                                                  the default on or before the date specified in the notice may result in
                                                                         20                       acceleration of the sums secured by this Security Instrument,
                                                                                                  foreclosure by judicial proceeding and sale of the Property.
                                                                         21
                                                                         22
                                                                         23            4
                                                                                         In recognizing that courts disagree as to whether a loan modification application creates a duty of
                                                                              care for money lenders, the undersigned judge has noted that “[f]ederal district courts applying California law
                                                                         24   after Alvarez overwhelmingly hold that the California Supreme Court would recognize a duty of care.” Kaar v.
                                                                              Wells Fargo Bank, N.A., No. 16-cv-01290, 2016 WL 3068396, at *4 (N.D. Cal. June 1, 2016) (quoting
                                                                         25   MacDonald v. Wells Fargo Bank N.A., No. 14-cv-04970, 2015 WL 1886000, at *5 (N.D. Cal. Apr. 24, 2015)
                                                                              (Judge Haywood Gilliam, Jr.)). Nevertheless, for the reasons stated herein, this order declines to adopt the
                                                                         26   reasoning set forth in Alvarez.

                                                                         27            5
                                                                                         Plaintiffs’ secured-loan instruments also contain a choice of law provision which provides for the
                                                                              application of the law of the jurisdiction in which the subject property was located. Although plaintiffs hail
                                                                         28   from eleven different states, the parties only briefed California law in connection with plaintiffs’ breach of
                                                                              contract claim. This order accordingly analyzes this claim under California law only.

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                                                                          1          Plaintiffs contend that Wells Fargo breached the requirement to notify them of “the
                                                                          2   action required to cure the default” by accelerating payments and commencing foreclosure
                                                                          3   without first notifying them “that they could cure their default and avoid acceleration and
                                                                          4   foreclosure by accepting a mortgage modification” (Amd. Compl. ¶ 189). This order disagrees
                                                                          5   that plaintiffs have alleged a breach of contract claim. Nothing in this provision (or any other
                                                                          6   provision in the contract) supports plaintiffs’ proposed interpretation. The secured-loan
                                                                          7   instrument does not mention mortgage modification at all. Instead, it gives the bank the absolute
                                                                          8   right to foreclose in the event of an uncured default. The alleged requirement to offer plaintiffs a
                                                                          9   loan modification comes only from “HAMP or related programs,” none of which are referenced
                                                                         10   in the contract that Wells Fargo purportedly breached.
                                                                         11          Nor is the language at issue — “the action required to cure the default” — sufficiently
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                                                                         12   ambiguous to raise a factual question that cannot be resolved through a motion to dismiss.
                                                                         13   Under California law, “[t]he fundamental goal of contract interpretation is to give effect to the
                                                                         14   mutual intent of the parties as it existed at the time of contracting.” Miller v. Glenn Miller
                                                                         15   Prods., Inc., 454 F.3d 975, 989 (9th Cir. 2006) (per curiam) (citation omitted). Plaintiffs point to
                                                                         16   nothing in the complaint to suggest that a “government-mandated mortgage modification” even
                                                                         17   existed at the time they entered into their contracts with Wells Fargo. Accordingly, the phrase
                                                                         18   “the action required to cure the default” is susceptible to only one reasonable interpretation
                                                                         19   under the circumstances alleged — payment of the amount required to bring the loan current.
                                                                         20   While Wells Fargo’s failure to offer plaintiffs loan modifications may have violated HAMP (for
                                                                         21   which there is no private right of action), that failure did not amount to a breach of plaintiffs’
                                                                         22   secured-loan instruments. Wells Fargo’s motion to dismiss this claim is GRANTED.
                                                                         23          The opposition to the instant motion acknowledges that plaintiffs Demartino and Hood’s
                                                                         24   secured-loan instruments do not include the “action required to cure the default” language that
                                                                         25   forms the basis of plaintiffs’ breach of contract claim. Demartino and Hood accordingly request
                                                                         26   leave to amend the complaint to allege “similar breach of contract claims” based on the language
                                                                         27   of their respective secured-loan instruments. This request is DENIED without prejudice.
                                                                         28


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                                                                          1   Plaintiffs may file a noticed motion for leave to amend the complaint in accordance with the
                                                                          2   procedures set forth below.
                                                                          3          9.      WRONGFUL FORECLOSURE.
                                                                          4          Plaintiffs also assert a claim for wrongful foreclosure under California and Georgia law.
                                                                          5   Under California law, the basic elements of the tort of wrongful foreclosure are as follows: (1)
                                                                          6   the defendant causes an illegal, fraudulent or willfully oppressive sale of real property pursuant
                                                                          7   to a power of sale in a mortgage or deed of trust; (2) the plaintiff was prejudiced or harmed; and
                                                                          8   (3) the mortgagor tendered the amount of the secured indebtedness or was excused from
                                                                          9   tendering. Miles v. Deutsche Bank Nat’l Trust Co., 236 Cal. App. 4th 394, 408 (2015). Georgia
                                                                         10   law similarly permits a wrongful foreclosure claim “when a creditor forecloses on property
                                                                         11   without the legal right to do so, in violation of the terms of the deed.” Sheely v. Bank of Am.,
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                                                                         12   N.A., 36 F. Supp. 3d 1364, 1377 (N.D. Ga. 2014) (Judge Timothy Batten) (quoting BAC Home
                                                                         13   Loans Servicing, L.P. v. Wedereit, 759 S.E. 2d 867, 872 (2014)).
                                                                         14          As with their breach of contract claim, plaintiffs’ wrongful foreclosure claim is premised
                                                                         15   on the allegation that “the foreclosure was unlawful and/or unfair because Wells Fargo did not
                                                                         16   first notify Plaintiffs . . . that they could cure their default by accepting a mortgage modification”
                                                                         17   (Amd. Compl. ¶ 206). As set forth above, however, nothing in plaintiffs’ secured-loan
                                                                         18   instruments required Wells Fargo to modify their loans or notify them of the potential to cure
                                                                         19   their default through a loan modification. Accordingly, because plaintiffs’ wrongful foreclosure
                                                                         20   claim is based on the theory that Wells Fargo illegally foreclosed on plaintiffs’ properties by
                                                                         21   failing to comply with the terms of plaintiffs’ secured-loan instruments, their claim fails and
                                                                         22   must be dismissed.
                                                                         23          Plaintiffs summarily argue that they have stated a wrongful foreclosure claim under
                                                                         24   California law, separate and apart from any breach of their secured-loan instruments, because
                                                                         25   California also permits wrongful foreclosure claims to be premised on “unfair business
                                                                         26   practices” (Opp. at 17) (citing Ryan-Beedy v. Bank of New York Mellon, 293 F. Supp. 3d 1101,
                                                                         27   1115 (E.D. Cal. 2018)). Even assuming plaintiffs’ statement of the law is correct, they wholly
                                                                         28   fail to explain why the business practices at issue are sufficiently unfair to be considered


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                                                                          1   “fraudulent” or “willfully oppressive” so as to state a claim for wrongful foreclosure. The
                                                                          2   motion to dismiss plaintiffs’ wrongful foreclosure claim is accordingly GRANTED.
                                                                          3          10.     REQUEST FOR JUDICIAL NOTICE.
                                                                          4          Courts may take judicial notice of facts that are not subject to reasonable dispute because
                                                                          5   they “can be accurately and readily determined from sources whose accuracy cannot reasonably
                                                                          6   be questioned.” FRE 201(b). “[M]atters of public record” are the appropriate subjects of
                                                                          7   judicial notice. Lee v. City of Los Angeles, 250 F.3d 668, 689 (9th Cir. 2001), overruled on other
                                                                          8   grounds by Galbraith v. Cty. of Santa Clara, 307 F.3d 1119, 1125–26 (9th Cir. 2002). The order
                                                                          9   accordingly GRANTS Wells Fargo’s unopposed request for judicial notice of (1) the 2011 OCC
                                                                         10   consent order, (2) the servicer participation agreement between Wells Fargo and Fannie Mae,
                                                                         11   and (3) the secured-loan instruments of certain plaintiffs.
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                                                                         12                                            CONCLUSION
                                                                         13          For the reasons stated, Wells Fargo’s motion to dismiss is GRANTED IN PART AND
                                                                         14   DENIED IN PART. By JUNE 10 AT NOON, each side shall file a supplemental brief, not to exceed
                                                                         15   five pages, regarding the impact, if any, of this order on Wells Fargo & Company’s pending
                                                                         16   motion to dismiss. Although plaintiffs will be permitted to seek leave to amend the dismissed
                                                                         17   claims by a motion noticed on the normal 35-day calendar, a schedule for such motion will be set
                                                                         18   following the resolution of Wells Fargo & Company’s pending motion to dismiss. Meanwhile,
                                                                         19   discovery should proceed in a robust way.
                                                                         20
                                                                         21          IT IS SO ORDERED.
                                                                         22
                                                                         23   Dated: June 3, 2019.
                                                                                                                                    WILLIAM ALSUP
                                                                         24                                                         UNITED STATES DISTRICT JUDGE
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